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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY

  JEFFREY BOUDER, et al., on behalf of
  themselves, the general public, and all others                    Civil Action No. 2:06-cv-4359
  similarly situated,                                               (CCC) (MF)
                                          Plaintiffs,
                     VS
                                                                    JUDGMENT AND ORDER
                 -
                          -                                         OF DISMISSAL

  PRUI)ENTIAL FINANCIAL, INC., THE
  PRUDENTIAL INSURANCE COMPANY
  OF AMERICA,1 et a!.,
                                         Defendants.




  MM WANG, individually and on behalf of all
  others similarly situated,
                                         Plaintiffs,
                -    Vs   -




  PRUDENTIAL FINANCIAL, INC., THE
  PRUDENTIAL INSURANCE COMPANY
  OF AMERICA,1 DOES,
                                         Defendants.



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        This matter came on for hearing in the above-captioned action (the
  “Action”) upon the joint application of the Named Plaintiffs and Defendants
  Prudential Financial, Inc. and The Prudential Insurance Company of America
  (“Defendants” or “Prudential”) (collectively the “Parties”) for approval of the
  settlement as set forth in the Settlement Agreement and Release Regarding Class

        Incorrectly referred to as “Prudential Insurance Co. of America” in the case caption.



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  and Collective Action and Individual Claims (the “Agreement”). Due and
  adequate notice having been given to Notice Recipients, and the Court having
  considered the Agreement, all papers and proceedings filed herein and all oral and
  written comments received regarding the proposed settlement, and the Court
  having reviewed the record in this Action, and finding there to be good cause
  appearing,
         IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS
  FOLLOWS:
         1.    This Judgment and Order of Dismissal (“Judgment”) adopts and
  incorporates all defined terms set forth in the Agreement that is filed in this Action.
        2.     The Court has jurisdiction over the subject matter of the Action, the
  Named Plaintiffs, who, as to some of them, are class representatives, other Class
  Members, and all other Participating Claimants, including Non-Deduction Wage
  Claimants and Opt-In Plaintiffs, and the Defendants.
        3.     The distribution of the Notice of a Class and Collective Action
  Settlement as provided for in the Order Granting Preliminary Approval of th
  Settlement and Order Regarding Approval of Notice, constituted the best notice
  practicable under the circumstances to Notice Recipients, and fully met the
  requirements of due process under the United States Constitution and applicable
  state and federal law. Based on evidence and other material submitted in
  conjunction with the Fairness Hearing, the Court finds the actual notice to the
  Notice Recipients was adequate.
        4.     Solely for purposes of effectuating this Settlement, this Court has
  certified the Deductions Class and the Court deems the Deductions Class sufficient
  for purposes of due process and Rule 23, F.R.C.P.
        5.     With respect to the Deductions Class and for purposes of approving
  this Settlement, this Court fmds and concludes that for settlement purposes only:


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  (a) the members of the Deductions Class are ascertainable and so numerous that
  joinder of all members is impracticable; (b) there are questions of law or fact
  common to each member of the Deductions Class, and there is a well-defined
  community of interest among members of each Deductions Class Member with
  respect to the subject matter of the Action; (c) the claims of those Named Plaintiffs
  who are serving as class representatives of the Deduction Classes are typical of the
  claims of the Deductions Class Members in the Settling States represented by each
  such Named Plaintiff; (d) the Named Plaintiffs who are serving as class
  representatives have fairly and adequately protected the interests of the members of
  the Deductions Class Members in the Settling States represented by each such
  Named Plaintiff; (e) a class action is superior to other available methods for an
  efficient adjudication of this Action; and (f) Class Counsel, previously appointed
  by the Court in the Court’s Opinion & Order filed herein on February 26, 2015
  (ECF No. 320), are qualified to serve as counsel for the Named Plaintiffs as Class
  Representatives and as counsel for the Settlement Classes.
         6.     The Court further finds that the Settlenent is fair, reasonable,
  adequate, and in the best interests of all Settling Plaintiffs in light of the
  complexity, expense, and duration of litigation and the risks involved in
  establishing liability and damages and in maintaining the class action through trial
  and appeal.
        7.      The Settlement consideration provided under the Settlement
  Agreement constitutes fair value given in exchange for the release of the Released
  Claims. The Court finds that the consideration to be paid to Settling Plaintiffs is
  reasonable, considering the facts, and circumstances of the numerous types of
  claims and separate and affirmative defenses in the Action, and the potential risks
  and likelihood of success of alternatively pursuing trials on the merits.
        2.      The Court finds in favor of fmal approval of the Settlement and


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  hereby approves the Settlement, as set forth in the Agreement, and each of the
  releases and Released Claims therein and all other terms, as fair, just, reasonable
  and adequate as to the Parties and Settling Plaintiffs. The Parties are directed to
  perform in accordance with the terms set forth in the Agreement.
         9.      Except as to any individual claim of those Persons (identified in
  Attachment A hereto) who have validly and timely requested exclusion from the
  Settlement, all of the Released Claims (including unknown claims) are hereby
  dismissed with prejudice as to all Settling Plaintiffs. In addition, any and all
  counterclaims asserted by Defendants against the Named Plaintiffs are dismissed
  with prejudice, and by this Judgment Prudential releases Class Counsel and the
  Named Plaintiffs from any and all claims, rights, demands and actions of any and
  every kind whether known or unknown to Prudential that could have been brought
  as counterclaims in this Action, including, but not limited to claims of malicious
  prosecution.
         10.     As set forth in the Agreement, Prudential shall not take any adverse
  action against any Named Plaintiff in retaliation for acting as a Named Plaintiff or
  against any other Participating Claimant for being a Participating Class Member, to
  the extent that any such claims are based on events that occur or occurred after
  September 15, 2006 or, in the case of Named Plaintiffs, based on events that occur
  or occurred after the Named Plaintiffs execute this Settlement Agreement.
        11.      The Action is dismissed in its entirety with prejudice, including the
  conditionally certified collective action, except that the Court dismisses, without
  prejudice, the claims of all Opt-In Plaintiffs who have not become Participating
  Claimants.
        12.      The Parties are to bear their own costs, except as otherwise provided
  in the Agreement and in this Judgment.
        13.      The only Notice Recipients entitled to payment pursuant to this


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  Judgment are Participating Claimants. Neither the Agreement nor this Judgment
  will result in the creation of any unpaid residue or residual.
         14.     Prudential has agreed, subject to approval by the Court, not to oppose
  an award to Class Counsel for their reasonable attorneys’ fees up to one-third
  (331/3%)
              of the Gross Settlement Amount as well as reasonable litigation costs
  incurred in this Action. Prudential has also agreed, subject to approval by the
  Court, not to oppose an award of Enhancement Payments to the Named Plaintiffs
  to reimburse them for their unique services as Named Plaintiffs in the gross
  amount of up to $15,000.00 for each Named Plaintiff, or in the gross amount of up
  to $7,500.00 in the case of Edward Lennon, and has further agreed not to oppose
  payment of an Incentive Award of up to $250.00 to each Named Plaintiff who
  opted into the FLSA collective action and to each Opt-In Plaintiff who becomes a
  Participating Claimant.
        15.      The Court finds Class Counsel’s request for fees and costs is fair and
  reasonable and accordingly awards Class Counsel attorneys’ fees in the sum of
 ‘$4,166,666.67 and litigation costs of $178,923.16, to be paid out of the Gross
  Settlement Amount. The Claims Administrator is therefore directed to make such
  payments to Class Counsel, jointly, in accordance with the terms of the Agreement,
  and to make payments of the Enhancement Awards in the amount of $15,000.00 to
  each Named Plaintiff, except for Edward Lennon who is hereby awarded an
  Enhancement Award of $7,500.00, out of the Gross Settlement Amount. The
  Claims Administrator is further directed to make payments of the Incentive
  Awards of $250.00 to each Named Plaintiff who opted into the FLSA collective
  action and to each Opt-In Plaintiff who has become a Participating Claimant.
        16.      The Court finds that the request for payment of the incurred and
  anticipated costs of the Claims Administrator, Garden City Group, LLC, in the
  amount of $188,000.00, is reasonable and is approved.


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         17.   The Claims Administrator is directed to distribute the enhancement
  and incentive awards and the Net Settlement Amount to the Named Plaintiffs,         Opt
  In Plaintiffs, Edward Lennon and Participating Claimants in accordance with the
  terms of the Agreement.
         1$.   Without affecting the finality of this Judgment, the Court retains
  exclusive jurisdiction over the Action, Named Plaintiffs, Class Counsel, Prudential
  and its attorneys and all Settling Plaintiffs for the limited purposes of: (i) resolving
  any issues relating to enforcement or interpretation of this Agreement including
  any and all issues relating to payment of administration costs, litigation costs,
  attorneys’ fees and/or distributions to Participating Claimants, and (ii) to select a
  charity or non-profit organization pursuant to Section V, Paragraph 14, of the
  Agreement, if necessary. The Court shall not retain jurisdiction of this Action for
  any other reason or purpose.
         19.   All Settling Plaintiffs are permanently enjoined and barred from
  commencing, prosecuting, or otherwise litigating, in whole or in part, either
  directly, representatively, derivatively, as a named plaintiff, as a class or collective
  action member or putative class or collective action member, or in any other
  capacity, whether by complaint, counterclaim, defense, or otherwise, in any local,
  state or federal court or in any agency or in any other form or forum wherever
  located, any of the Released Claims against Defendants or Releasees.
        20.    The terms of the Settlement Agreement are fully incorporated by
  reference into this Order.
        21.    This document shall constitute a Judgment (and separate document
  constituting said judgment) for purposes of federal Rule of Civil Procedure, Rule
  5$; and




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        IT IS SO ORDERED.
        The Court directs the Clerk to close this matter.


  DATED:    Dc                     2017
                                            The Honorable Claire C. Cecchi
                                            United States District Court Judge




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                                 EXHIBIT A

                   VALIDLY AND TIMELY REQUESTED
                  EXCLUSIONS FROM TIlE SETTLEMENT

     1. Lisa Austin
     2. Christine Pagliero
     3. Robert W. Jungles




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